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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 LONE STAR TECHNOLOGICAL          §
 INNOVATIONS, LLC,                §
                                  § Civil Action No. 6:19-cv-00059-RWS
      Plaintiff,                  §
                                  §            LEAD CASE
              v.                  §
                                  §
 ASUSTEK COMPUTER, INC.           §
                                  §
      Defendant.                  §
                                  §
             STIPULATION OF DISMISSAL OF ALL CLAIMS AGAINST
                         “PROJECTOR PRODUCTS”

       The parties, Lone Star Technological Innovations, LLC (“Lone Star”) and Asustek
Computer, Inc., hereby jointly stipulate that Lone Star’s claims of patent infringement against the
“Projector Products” (B1M, B1MR, E1, E1Z, P1, P2B, P2E, P3B, P3E, S1) are hereby
DISMISSED WITH PREJUDICE.



Approved as to form and substance:

Attorneys for Plaintiff:       /s/ Joshua J. Bennett

Attorneys for Defendant:       /s/ Vinay V. Joshi
